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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                   IN THE UNITED STATES DISTRICT COURT                October 13, 2022
                    FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                             HOUSTON DIVISION

Joseph R. Tomelleri,                    §
                                        §
                Plaintiff,              §
                                        §
V.                                      §    CIVIL ACTION NO. H-21-3905
                                        §
wLure, LLC,                             §
                                        §
                Defendant.              §


                       AMENDED DOCKET CONTROL ORDER

           The Unopposed Joint Motion to Modify and Amended Unopposed

Joint Motion to Modify         (docket no.    22 and 23)   are GRANTED.         The

deadlines are AMENDED as follows:

                                   DEADLINES

 1.       June 24, 2022        MOTIONS TO AMEND THE PLEADINGS

 2.       June 24, 2022        MOTIONS TO ADD NEW PARTIES The attorney
                               causing the addition of new parties will
                               provide copies of this order and all
                               orders previously entered in the case to
                               new parties.

 3.                            MOTION TO CERTIFY CLASS The party seek-
                               ing certification will file a motion and
                               supporting memorandum by this date.

 4.       July 15, 2022        Identification of experts by the party
                               with the burden of proof on the issue and
                               production of experts' reports in the
                               form   required by Fed.      R.  Civ.  P.
                               26(a) (2) (B). Attorney's fee experts and
                               reports may be included in the Joint
                               Pretrial Order.

 5.       August 19, 2022      Identification of responsive experts and
                               production of experts' reports in the
                               form  required by Fed.     R.  Civ.   P.
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                               26(a) (2) (B). Attorney's fee experts and
                               reports may be included in the Joint
                               Pretrial Order.

 6. February 28, 2023          COMPLETION OF DISCOVERY Written discov-
                               ery requests are not timely if they are
                               filed so close to this deadline that the
                               recipient would not be required under the
                               Federal Rules of Civil Procedure to
                               respond until after the deadline.

 7.                            LIMITS ON DISCOVERY



8.        Required             MEDIATION or SETTLEMENT CONFERENCE BEFORE
                               THE MAGISTRATE JUDGE Dispositive motions
                               will be due thirty ( 3 O) days after the
                               mediator or magistrate judge declares an
                               impasse.

 9. See paragraph 8.           DISPOSITIVE MOTIONS

10.      March 6 1 2023        ALL OTHER PRETRIAL MOTIONS INCLUDING
                               MOTIONS IN LIMINE

11.     April 7, 2023          JOINT PRETRIAL ORDER Plaintiff is
                               responsible   for   timely   filing  the
                               complete joint pretrial order. The court
                               will not accept separate versions of the
                               pretrial order.

12.     April 14, 2023         DOCKET CALL   No instrument filed within
          3:00 P.M.            three days of docket call will be
                               considered.  All pending motions may be
                               ruled on at docket call, and the case
                               will be set for trial if the complete
                               joint pretrial order has been filed.




      October 13, 2022
            DATE                                    SIM LAKE
                                       SENIOR UNITED STATES DISTRICT JUDGE


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